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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

CLIFFORD H. STUBBE, et al.,         *
                                    *
      Plaintiffs,                   *
                                    *
vs.                                 * CIVIL ACTION NO. 22-00339-KD-B
                                    *
PHH MORTGAGE CORPORATION,           *
                                    *
      Defendant.                    *


                                  ORDER

      This action is before the Court on Defendant PHH Mortgage

Corporation’s Motion to Dismiss (Doc. 3).        Plaintiffs are ORDERED

to file a response to the motion on or before September 29, 2022.

Any reply by Defendant shall be filed by October 6, 2022.

      DONE this 8th day of September, 2022.

                                                /s/ SONJA F. BIVINS
                                          UNITED STATES MAGISTRATE JUDGE
